Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Twelfth Floor, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  10605 SE 240th St. PMB #115
                                  Renton, WA 98056                                                Kent, WA 98031
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                24-01521-FPC11                Doc 1        Filed 09/20/24           Entered 09/20/24 18:03:31                    Pg 1 of 31
Debtor    Twelfth Floor, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 24-01521-FPC11                  Doc 1      Filed 09/20/24              Entered 09/20/24 18:03:31                       Pg 2 of 31
Debtor    Twelfth Floor, LLC                                                                              Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 24-01521-FPC11                      Doc 1         Filed 09/20/24            Entered 09/20/24 18:03:31                      Pg 3 of 31
Debtor   Twelfth Floor, LLC                                                          Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                24-01521-FPC11        Doc 1           Filed 09/20/24      Entered 09/20/24 18:03:31               Pg 4 of 31
Debtor    Twelfth Floor, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 20, 2024
                                                  MM / DD / YYYY


                             X /s/ Michael Christ                                                         Michael Christ
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member and CEO




18. Signature of attorney    X /s/ James L. Day                                                            Date September 20, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James L. Day
                                 Printed name

                                 Bush Kornfeld LLP
                                 Firm name

                                 601 Union St., Suite 5000
                                 Seattle, WA 98101-2373
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (206) 292-2110                Email address      jday@bskd.com

                                 WSBA 20474 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 24-01521-FPC11              Doc 1         Filed 09/20/24             Entered 09/20/24 18:03:31                     Pg 5 of 31
Debtor     Twelfth Floor, LLC                                                               Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF WASHINGTON

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     1 Min LLC                                                               Relationship to you               Affiliate
District   Eastern District of Washington             When     9/18/24             Case number, if known
Debtor     Hotel at Southport LLC                                                  Relationship to you               Affiliate
District   Eastern District of Washington             When     9/18/24             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 6
                  24-01521-FPC11              Doc 1      Filed 09/20/24          Entered 09/20/24 18:03:31                  Pg 6 of 31
Docusign Envelope ID: 1A8D6350-29D4-42BD-8806-EB4A4F345178




               RESOLUTIONS AND CONSENT OF MEMBER, MANAGER AND INDEPENDENT
                             MANAGERS OF TWELFTH FLOOR, LLC

                    The undersigned, being the sole Member, the Manager and the Independent Managers of
             Twelfth Floor, LLC, a Delaware limited liability company (the “Company”), do hereby consent to
             adoption of the following resolutions:

                     WHEREAS, the sole asset of the Company is its wholly-owned membership interests in
             Hotel at Southport, LLC (“Hotel Owner”), a Delaware limited liability company, which owns the
             real property and improvements comprising an operating hotel commonly known as the Hyatt
             Regency Lake Washington, located in Renton, Washington (the “Hotel”); and

                    WHEREAS, Hotel Debtor is borrower under a loan (the “Senior Loan”) in the original
             principal amount of $90,000,000, which is secured by, among other things, a deed of trust
             encumbering the Hotel in first position. The Senior Loan matured in May 2024 and is in default;
             and

                    WHEREAS, the Company is borrower under a loan (the “Mezz Loan”) in the original
             principal amount of $40,000,000, which is secured by a pledge of the Company’s interests in Hotel
             Debtor. The Mezz Loan matured in May 2024 and is in default; and

                    WHEREAS, Hotel Debtor is a party to a purchase and sale agreement (the “Purchase
             Agreement”) for the sale of the Hotel for a purchase price sufficient to satisfy both the Senior Loan
             and the Mezz Loan in full; and

                    WHEREAS, in March 2024, a lawsuit (the “Lawsuit”) was commenced by individuals that
             had invested money through the EB-5 Immigrant Investor Program in a limited partnership that
             contributed funds between 2014 and 2016 in support of the construction of the Hotel. The Lawsuit
             names the Company and Hotel Debtor (among others) as defendants; and

                    WHEREAS, in May 2024 the purchaser under the Purchase Agreement (the “Purchaser”)
             declined to proceed with the purchase of the Hotel due to the pendency of the Lawsuit; and

                      WHEREAS, Hotel Debtor and the Purchaser have amended the Purchase Agreement
             pursuant to which the Purchaser will proceed with the Purchase Agreement, provided that
             Purchaser’s obligation to purchase the Hotel is subject to the entry of a final order of a bankruptcy
             court (i) approving the sale pursuant to Bankruptcy Code section 363 prior to confirmation of a
             plan, or (ii) confirming a plan that provides for the sale of the Hotel, in both cases free and clear
             of all liens claims and interests; and

                     WHEREAS, the undersigned are the manager (the “Manager”), the independent managers
             (each, an “Independent Manager”), and the sole Member of the Company; and

                     WHEREAS, it is the opinion of the Manager, Independent Managers and Member that the
             only reasonable and prudent response to the Company’s financial circumstances is the filing of a
             voluntary petition in bankruptcy seeking protection and reorganization under Chapter 11 of the
             United States Bankruptcy Code (the “Chapter 11 Case”) so as to permit Hotel Debtor to complete
             the sale of the Hotel and satisfy the Senior Loan and the Mezz Loan; and




              24-01521-FPC11           Doc 1      Filed 09/20/24   Entered 09/20/24 18:03:31        Pg 7 of 31
Docusign Envelope ID: 1A8D6350-29D4-42BD-8806-EB4A4F345178




                    WHEREAS, the Company has selected the law firm of Bush Kornfeld LLP (“BK”) to
             represent the Company’s interests in the Chapter 11 Case.

                    NOW, THEREFORE, the undersigned Member, Manager and Independent Managers
             consent to the following action by the Company:

                    RESOLVED, that the Company is hereby authorized and directed to prepare, file and
             prosecute the Chapter 11 Case to permit the sale of the Hotel to proceed to closing; and it is

                    FURTHER RESOLVED, that the Company shall employ BK to represent it in the
             preparation, filing and prosecution of Chapter 11 Case and shall seek to have that employment
             approved by the Bankruptcy Court as soon as is practicable; and it is

                     FURTHER RESOLVED, that the Company is hereby authorized to retain such other
             professional consultants on such terms of employment as are required in order to act in the best
             interests of the Company in prosecuting the Chapter 11 Case; and it is

                    FURTHER RESOLVED, that Michael Christ (“Christ”), as the sole Member of the
             Company and the sole shareholder of the Manager, is hereby authorized and directed to take such
             steps and execute such documentation as is required in order to effectuate any and all of the
             foregoing.

                                                                   MEMBER

                                                                   By: 1 MIN, LLC, its sole member

                                 9/18/2024
                      DATED: _____________                                By:_________________________
                                                                            Michael Christ, its sole Member


                                                                   MANAGERS

                                 9/18/2024
                      DATED: _____________                         ____________________________
                                                                   SECO Development, Inc., Manager
                                                                   By: Michael Christ, its sole shareholder

                                 9/18/2024
                      DATED: _____________                         ____________________________
                                                                   Candace Corra., Independent Manager

                                  9/18/2024
                      DATED: _____________                         ____________________________
                                                                   Elizabeth Beachell, Independent Manager




              24-01521-FPC11           Doc 1      Filed 09/20/24   Entered 09/20/24 18:03:31       Pg 8 of 31
Fill in this information to identify the case:

Debtor name         Twelfth Floor, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 20, 2024              X /s/ Michael Christ
                                                           Signature of individual signing on behalf of debtor

                                                            Michael Christ
                                                            Printed name

                                                            Member and CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            24-01521-FPC11                 Doc 1        Filed 09/20/24             Entered 09/20/24 18:03:31                  Pg 9 of 31
 Fill in this information to identify the case:
 Debtor name Twelfth Floor, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Cai et al v Christ et                     Plaintiffs have    Contingent                                                                                                 $0.00
 al Plaintiffs                             asserted claims    Unliquidated
 c/o Reid & Wise LLC                       against the Debtor Disputed
 One Penn Plaza,                           and numerous
 Suite 2015                                other parties in
 New York, NY 10119                        King County
                                           Superior Court
                                           Case No.
                                           24-2-04850-2.
 WF CREL 2020                              Membership                                                 $41,147,151.00                          $0.00        $41,147,151.00
 Grantor Trust             TPanagopoulos@w Interests in Hotel
 c/o Waterfall Asset       aterfallam.com  at Southport LLC
 Management
 1251 Ave of the
 Americas, Flr 50
 New York, NY 10020




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




                    24-01521-FPC11           Doc 1        Filed 09/20/24              Entered 09/20/24 18:03:31                             Pg 10 of 31
Fill in this information to identify the case:

Debtor name           Twelfth Floor, LLC

United States Bankruptcy Court for the:                      EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $                    0.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       41,147,151.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$                    0.00


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $         41,147,151.00




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1




             24-01521-FPC11                                Doc 1              Filed 09/20/24                         Entered 09/20/24 18:03:31                                   Pg 11 of 31
Fill in this information to identify the case:

Debtor name       Twelfth Floor, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

                                                                                            Valuation method used        Current value of
                                                                                            for current value            debtor's interest

14.       Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
          partnership, or joint venture
          Name of entity:                                               % of ownership
                  Membership Interest in Hotel at Southport
          15.1.   LLC                                                     100        %                                                Unknown


Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                           page 1



           24-01521-FPC11                  Doc 1     Filed 09/20/24        Entered 09/20/24 18:03:31                 Pg 12 of 31
Debtor        Twelfth Floor, LLC                                                           Case number (If known)
              Name



16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                       $0.00
           Add lines 14 through 16. Copy the total to line 83.

Part 5:       Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                page 2



            24-01521-FPC11                 Doc 1       Filed 09/20/24           Entered 09/20/24 18:03:31           Pg 13 of 31
Debtor          Twelfth Floor, LLC                                                                                  Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                          $0.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 3



              24-01521-FPC11                         Doc 1            Filed 09/20/24                   Entered 09/20/24 18:03:31                       Pg 14 of 31
Fill in this information to identify the case:

Debtor name          Twelfth Floor, LLC

United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
       WF CREL 2020 Grantor
2.1                                                                                                                  $41,147,151.00                        $0.00
       Trust                                        Describe debtor's property that is subject to a lien
       Creditor's Name                              Membership Interests in Hotel at Southport
       c/o Waterfall Asset                          LLC
       Management
       1251 Ave of the Americas,
       Flr 50
       New York, NY 10020
       Creditor's mailing address                   Describe the lien
                                                    Security Interest
       TPanagopoulos@waterfalla                     Is the creditor an insider or related party?
       m.com                                           No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
       11/06/19                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0032
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



                                                                                                                        $41,147,151.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1




             24-01521-FPC11                       Doc 1        Filed 09/20/24               Entered 09/20/24 18:03:31                   Pg 15 of 31
Fill in this information to identify the case:

Debtor name        Twelfth Floor, LLC

United States Bankruptcy Court for the:         EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  Unknown
          Cai et al v Christ et al Plaintiffs                                  Contingent
          c/o Reid & Wise LLC
                                                                               Unliquidated
          One Penn Plaza, Suite 2015
          New York, NY 10119                                                   Disputed

          Date(s) debt was incurred                                         Basis for the claim: Plaintiffs have asserted claims against the Debtor
          Last 4 digits of account number                                   and numerous other parties in King County Superior Court Case No.
                                                                            24-2-04850-2.
                                                                            Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                     related creditor (if any) listed?                 account number, if
                                                                                                                                                       any
4.1       Cai et al v Christ et al Plaintiffs
          c/o Arete Law Group PLLC                                                                   Line     3.1
          1218 Third Avenue, Suite 2100
                                                                                                            Not listed. Explain
          Seattle, WA 98101


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                            5a.          $                             0.00
5b. Total claims from Part 2                                                                            5b.     +    $                             0.00

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.          $                               0.00




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 1
                                                                                                            27718



             24-01521-FPC11                    Doc 1         Filed 09/20/24               Entered 09/20/24 18:03:31                               Pg 16 of 31
Fill in this information to identify the case:

Debtor name       Twelfth Floor, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




            24-01521-FPC11                Doc 1        Filed 09/20/24             Entered 09/20/24 18:03:31                     Pg 17 of 31
Fill in this information to identify the case:

Debtor name      Twelfth Floor, LLC

United States Bankruptcy Court for the:   EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Michael P. Christ           10605 SE 240th St. PMB #115                               WF CREL 2020                       D   2.1
                                      Kent, WA 98031                                            Grantor Trust                      E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1



          24-01521-FPC11                  Doc 1      Filed 09/20/24           Entered 09/20/24 18:03:31                     Pg 18 of 31
Fill in this information to identify the case:

Debtor name         Twelfth Floor, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
             WF CREL 2020 Grantor Trust                           6/10/24;                      $1,068,206.72           Secured debt
             c/o Waterfall Asset Management                       7/10/24;                                              Unsecured loan repayments
             1251 Ave of the Americas                             8/7/24
                                                                                                                        Suppliers or vendors
             50th Floor
                                                                                                                        Services
             New York, NY 10020
                                                                                                                        Other




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




             24-01521-FPC11               Doc 1       Filed 09/20/24             Entered 09/20/24 18:03:31                     Pg 19 of 31
Debtor       Twelfth Floor, LLC                                                                 Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Lan Cai et al. v. Michael Crist          Fraud, Breach of            King County Superior Court                    Pending
              et al.                                   Fiduciary Duty,             516 Third Avenue                              On appeal
              24-2-04850-2                             Securities Fraud,           Seattle, WA 98104
                                                                                                                                 Concluded
                                                       Civil Conspiracy,
                                                       and other claims.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2




             24-01521-FPC11                Doc 1        Filed 09/20/24             Entered 09/20/24 18:03:31                       Pg 20 of 31
Debtor      Twelfth Floor, LLC                                                                    Case number (if known)




          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3




            24-01521-FPC11                 Doc 1        Filed 09/20/24             Entered 09/20/24 18:03:31                      Pg 21 of 31
Debtor      Twelfth Floor, LLC                                                                   Case number (if known)



               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4




            24-01521-FPC11                 Doc 1         Filed 09/20/24             Entered 09/20/24 18:03:31                      Pg 22 of 31
Debtor      Twelfth Floor, LLC                                                                  Case number (if known)




     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5




            24-01521-FPC11                Doc 1         Filed 09/20/24            Entered 09/20/24 18:03:31                         Pg 23 of 31
Debtor      Twelfth Floor, LLC                                                                  Case number (if known)



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      1 Min LLC                               10605 SE 240th St PMB #115                          Member                                    100
                                              Kent, WA 98031

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      SECO Development Inc.                   10605 SE 240th St. PMB #115                         Manager
                                              Kent, WA 98031

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Candace Cora                            Stewart Mgmt Co.                                    Independent Manager
                                              301 N. Market Street, Ste 1410
                                              Wilmington, DE 19801
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jean Marke Wagner                       Stewart Mgmt. Co.                                   Independent Manager
                                              301 N. Market St, Ste 1410
                                              Wilmington, DE 19801


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 6




            24-01521-FPC11                 Doc 1        Filed 09/20/24            Entered 09/20/24 18:03:31                      Pg 24 of 31
Debtor      Twelfth Floor, LLC                                                                  Case number (if known)



   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 20, 2024

/s/ Michael Christ                                              Michael Christ
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Member and CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7




            24-01521-FPC11                Doc 1         Filed 09/20/24            Entered 09/20/24 18:03:31                   Pg 25 of 31
                                                      United States Bankruptcy Court
                                                           Eastern District of Washington
 In re    Twelfth Floor, LLC                                                                                      Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
1 Min LLC                                                                         100%                                       Membership interests
10605 SE 240th St PMB #115
Kent, WA 98031


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Member and CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date September 20, 2024                                                  Signature /s/ Michael Christ
                                                                                        Michael Christ

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders




           24-01521-FPC11                  Doc 1         Filed 09/20/24              Entered 09/20/24 18:03:31                        Pg 26 of 31
                                              United States Bankruptcy Court
                                                  Eastern District of Washington
 In re   Twelfth Floor, LLC                                                                    Case No.
                                                                   Debtor(s)                   Chapter     11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Member and CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:    September 20, 2024                            /s/ Michael Christ
                                                       Michael Christ/Member and CEO
                                                       Signer/Title




          24-01521-FPC11             Doc 1      Filed 09/20/24         Entered 09/20/24 18:03:31                Pg 27 of 31
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                       Twelfth Floor, LLC
                       10605 SE 240th St. PMB #115
                       Kent, WA 98031



                       James L. Day
                       Bush Kornfeld LLP
                       601 Union St., Suite 5000
                       Seattle, WA 98101-2373



                       US Attorney
                       Attn Bankruptcy Assistant
                       700 Stewart ST #5220
                       Seattle, WA 98101-4438



                       Internal Revenue Service
                       Jackson Federal Bldg
                       915 2nd Ave M/S W243
                       Seattle, WA 98174



                       US Treasury
                       Secretary of the Treasury
                       1500 Pennsylvania Ave NW
                       Washington, DC 20220



                       WA Dept of Rev-SEA
                       Bankruptcy/Claims Unit
                       2101 4th Ave #1400
                       Seattle, WA 98121-2300



                       WA Dept of L&I-OLY
                       Collections
                       PO Box 44170
                       Olympia, WA 98504-4170



                       WA Dept of Emp Sec-OLY
                       UI Tax Admin
                       PO Box 9046
                       Olympia, WA 98507-9046




    24-01521-FPC11   Doc 1   Filed 09/20/24   Entered 09/20/24 18:03:31   Pg 28 of 31
                   WA Attorney General
                   Bankruptcy & Collections Unit
                   800 5th Ave #2000
                   Seattle, WA 98104



                   United States of America
                   Internal Revenue Service
                   915 Second Ave.
                   Seattle, WA 98174



                   Attorney General of the
                    United States
                   US Department of Justice
                   950 Pennsylvania Ave. NW
                   Washington, DC 20530-0001



                   U.S. Small Business Admin
                   Legal Dept.
                   2401 Fourth Ave. #450
                   Seattle, WA 98121



                   U.S. Dept. of Justice
                   U.S. Attorney's Office, EDWA
                   PO Box 1494
                   Spokane, WA 99210-1494



                   Cai et al v Christ et al Plaintiffs
                   c/o Reid & Wise LLC
                   One Penn Plaza, Suite 2015
                   New York, NY 10119



                   Cai et al v Christ et al Plaintiffs
                   c/o Arete Law Group PLLC
                   1218 Third Avenue, Suite 2100
                   Seattle, WA 98101



                   Michael P. Christ
                   10605 SE 240th St. PMB #115
                   Kent, WA 98031




24-01521-FPC11   Doc 1   Filed 09/20/24   Entered 09/20/24 18:03:31   Pg 29 of 31
                   WF CREL 2020 Grantor Trust
                   c/o Waterfall Asset Management
                   1251 Ave of the Americas, Flr 50
                   New York, NY 10020




24-01521-FPC11   Doc 1   Filed 09/20/24   Entered 09/20/24 18:03:31   Pg 30 of 31
                                        United States Bankruptcy Court
                                            Eastern District of Washington
 In re   Twelfth Floor, LLC                                                         Case No.
                                                           Debtor(s)                Chapter    11




                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Twelfth Floor, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




September 20, 2024                             /s/ James L. Day
Date                                           James L. Day
                                               Signature of Attorney or Litigant
                                               Counsel for Twelfth Floor, LLC
                                               Bush Kornfeld LLP
                                               601 Union St., Suite 5000
                                               Seattle, WA 98101-2373
                                               (206) 292-2110 Fax:(206) 292-2104
                                               jday@bskd.com




         24-01521-FPC11         Doc 1     Filed 09/20/24      Entered 09/20/24 18:03:31             Pg 31 of 31
